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                       UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA


BRAND DESIGN COMPANY, INC. d/b/a
HOUSE INDUSTRIES,

        Plaintiff,
                                                      Case No. ______
              v.
                                                      JURY TRIAL DEMANDED
RITE AID CORPORATION; NAME RITE,
LLC; SWAY CREATIVE LABS, LLC; GA
COMMUNICATIONS, INC., d/b/a
PURERED CREATIVE, LLC; BURNS
GROUP NYC, LLC,

       Defendants.

                                   COMPLAINT

      1.      This is a trademark, breach of contract, unfair competition, and unjust

enrichment case. Plaintiff Brand Design Company d/b/a House Industries (“House”)

is a well-known design firm that creates fonts, logos, and brand identities. Its clients

include Hermès, Ford, and Louis Vuitton, among many other famous brands.

      2.      Rite Aid Corporation (“Rite Aid”) recently rebranded its entire multi-

billion-dollar business using a proprietary font owned by House (named

“Neutraface”), including a new logo incorporating the font:

                   Old Logo                                 New Logo
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      3.      Upon information and belief, Rite Aid uses or intends to use the House

font and its new logo incorporating the font on signs on more the 2,400 stores, on

countless signs within those stores, on Rite Aid brand product packaging, online,

and in television advertising, among other places. For example:




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See generally https://www.pennlive.com/news/2020/10/rite-aid-debuts-its-store-of-

the-future.html; https://investors.riteaid.com/resources/Media-Gallery/; and

https://s27.q4cdn.com/633053956/files/doc_presentations/2021/JPM-Conference-

Intro-Slides-1.11.2021.pdf.

       4.      Press reports indicate that Rite Aid’s enterprise-wide rebranding, which

centers on its new logo, will take several years and Rite Aid intends to spend more

than        $700,000,000      on      the       rebranding.         See      generally



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https://www.pennlive.com/life/2020/03/it-is-a-new-day-at-rite-aid-rite-aid-unveils-

new-logo.html      and   https://www.pilotonline.com/business/vp-bz-sway-riteaid-

20200825-7c3z53d2rjc2pafncydwpbc4gi-story.html.

      5.      As part of the rebranding, Rite Aid’s wholly owned subsidiary,

defendant Name Rite LLC, also registered two different words + design marks for

the new logo that uses the House font. See U.S. Registration Nos. 6,357,235 and

6,258,269.

      6.      Rite Aid and its creative and advertising agencies—defendants Sway

Creative Labs, LLC (“Sway”), GA Communications, Inc. d/b/a/ PureRED Creative

(“PureRED”), and Burns Group NYC, LLC (“Burns Group”)—used House’s

Neutraface font either without authorization or in violation of prohibitions in their

license agreements with House.

      7.      Upon information and belief, Burns Group created Rite Aid’s new logo

at Rite Aid’s direction. Its only license with House for the Neutraface font expressly

prohibits use of the font in a logo. See Ex. A (House “Desktop License” stating:

“The following uses of the Licensed Software and Fonts and glyphs generated

thereby are expressly NOT PERMITTED under this agreement . . . k. In a logo.”).

The agreement defines a “logo” as “a unique set of stylized letters, optionally

integrated with graphic elements, adopted as a proprietary identifier, such as a

trademark.” Id.



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      8.        All of the agreements between House and either Rite Aid or its agencies

prohibit the use of the House Neutraface font in a logo. Rite Aid and PureRED

signed the same “Desktop” license agreements containing the same logo

prohibitions.

      9.        As described more fully below, Rite Aid also makes numerous other

uses of House’s Neutraface font that are both unauthorized and prohibited in each of

its license agreements. For example, its use on store brand product packaging, such

as prescription bottles, and television advertising is unauthorized and prohibited by

its existing license agreements. See Ex. A (House “Desktop License” agreement

entered into with Burns Group, Rite Aid, and PureRED prohibiting use on “[a]ny

product for sale, product packaging, . . . and/or tv advertising.”); Ex. B (House

license with PureRED on behalf of Rite Aid granting limited right to use for

“Print/POS/Signage Advertising” and stating “All rights not granted by this license

are expressly reserved by Licensor.         Licensee shall not . . . engage in any

unauthorized use of the Fonts or Font Data.”); Ex. C (House license with PureRED

on behalf of Rite Aid granting limited right to use for “Digital/Social Media/Web

Advertising” and stating “All rights not granted by this license are expressly reserved

by Licensor. Licensee shall not . . . engage in any unauthorized use of the Fonts or

Font Data.”).




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         10.   After learning of the true scope of Rite Aid’s use of its font House

repeatedly attempted to address the issue with Rite Aid without success. Despite

requests, Rite Aid has never identified any license agreement with it or its agencies

that permits its actual scope of use.

         11.   House is discerning in its licensing. It avoids licensing its fonts in a

manner that would allow the design to potentially become exclusively associated

with a single licensee. For example, House excludes logo use and use on products

from its form license agreements and only infrequently permits custom, limited-

scope license agreements for such uses because they may undermine the value of the

font as a licensable design property. House’s font designs are intended to evoke a

mood or an aesthetic that anyone can license; its designs are not intended and are not

licensed to evoke an exclusive association with any one company, i.e., to act as a

brand.

         12.   By adopting Neutraface as part of its logo, Rite Aid necessarily created

an association between House’s font design and Rite Aid as source. That is the entire

purpose of a design mark. Not only did Rite Aid take for its own what House does

not license, it also fundamentally undermined the licensable value of Neutraface.

This harm is magnified by the incredibly broad scope of Rite Aid’s unauthorized

uses. By using Neutraface so extensively as its own brand, Rite Aid threatens to

destroy the present and future licensable value of the font.



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      13.    Defendants’ conduct described above (and more fully below)

constitutes breach of contract, unfair competition, and unjust enrichment. As a result

of this conduct, House has been and will be irreparably harmed. It also has caused

monetary harm in an amount to be determined at trial.

      14.    In addition, Rite Aid is not authorized to use the font in a logo, is

contractually prohibited from using Neutraface in a logo, and the Rite Aid,

PureRED, and Burns Group’s Desktop License agreements state that any artwork

designs based on the glyphs (i.e., the letter forms) generated by House’s font

software “shall be the exclusive property of House Industries.” See Ex. A. As such,

Rite Aid is not entitled to claim ownership of or federally register its purported

design marks that incorporate the Neutraface font.           Rite Aid procured its

registrations by a false or fraudulent declaration or representation or by a false

means, which injured House and violated 15 U.S.C. § 1120.

      15.    This Court, pursuant to 15 U.S.C. § 1119, should exercise its power

over the trademark registry to cancel U.S. Registration Nos. 6,357,235 and

6,258,269.

                                  THE PARTIES

      16.    Brand Design Company, Inc., d/b/a House Industries is a Delaware

corporation with its principal place of business at 1145 Yorklyn Road, Yorklyn,

Delaware 19736.



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      17.     Rite Aid Corporation is a Delaware corporation with its principal place

of business at 30 Hunter Lane, Camp Hill, Pennsylvania 17011.

      18.     Name Rite, LLC is a Delaware limited liability company with its

principal place of business at 30 Hunter Lane, Camp Hill, Pennsylvania 17011.

Upon information and belief, Name Rite, LLC is Rite Aid’s 100% owned subsidiary.

      19.     Sway Creative Labs, LLC is a Virginia limited liability company with

its principal place of business at 524 Washington Park, Suite 1, Norfolk, Virginia,

23517.

      20.     GA Communications, Inc. d/b/a PureRED Creative, LLC is a Georgia

limited liability company with its principal place of business at 2196 West Park

Court, Stone Mountain, Georgia, 30087.

      21.     Burns Group NYC, LLC is a New York limited liability company with

its principal place of business at 220 West 19th Street, 12th Floor, New York, New

York 10011.

                          JURISDICTION AND VENUE

      22.     This Court has subject matter jurisdiction over these claims pursuant to

15 U.S.C. § 1121(a), 28 U.S.C. §§ 1331, 1338(a) and (b), and this Court’s

supplemental jurisdiction under 28 U.S.C. § 1367(a).

      23.     Upon information and belief, Rite Aid Corporation’s headquarters is in

Camp Hill, Pennsylvania and regularly conducts business in Pennsylvania.



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      24.    Upon information and belief, Name Rite, L.L.C.’s headquarters is in

Camp Hill, Pennsylvania and regularly conducts business in Pennsylvania.

      25.    Upon information and belief, Sway Creative Labs, L.L.C. regularly

conducts business in Pennsylvania.       Specifically, Sway Creative Labs, L.L.C.

promotes and sells its services, including the services it provided to Rite Aid at issue

here, in Pennsylvania in exchange for pecuniary compensation. In addition, Sway

Creative Labs, L.L.C. maintains a website available in Pennsylvania that facilitates

and/or enables users to purchase the infringing services from Pennsylvania.

      26.    Upon information and belief, GA Communications, Inc. d/b/a

PureRED Creative, L.L.C. regularly conducts business in Pennsylvania in exchange

for pecuniary compensation. Specifically, PureRED promotes and sells its services,

including the services it provided to Rite Aid at issue here, in Pennsylvania.

Furthermore, upon information and belief, PureRED maintains an office in

Pennsylvania at 129 Robbins Station Road, North Huntingdon, Pennsylvania 15642.

See https://www.purered.net/locations/. In addition, PureRED maintains a website

available in Pennsylvania that facilitates and/or enables users to purchase the

infringing services from Pennsylvania.         See https://www.purered.net/locations/

(“We are located where our clients need us.”).

      27.    Upon information and belief, Burns Group NYC, L.L.C. regularly

conducts business in Pennsylvania in exchange for pecuniary compensation.



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Specifically, Burns Group NYC, L.L.C. promotes and sells its services, including

the services it provided to Rite Aid at issue here, in Pennsylvania. In addition, Burns

Group NYC, L.L.C. maintains a website available in Pennsylvania that facilitates

and/or enables users to purchase the infringing services from Pennsylvania.

      28.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

all defendants reside in the District because they all defendants are subject to the

Court’s personal jurisdiction.

                           FACTUAL BACKGROUND

      29.    Over twenty-five years ago, Andy Cruz and Rich Roat launched a novel

independent typeface foundry that became known as House Industries. Over time,

House built a small creative team that developed a portfolio of fun, hand-crafted,

design-driven, proprietary fonts. The team also provides custom design services

creating logos and branding. House’s clients include many famous brands, including

Herman Miller, Eames, The New Yorker, and Jimmy Kimmel among many other

brands and household names.

      30.    One of House’s proprietary font designs is Neutraface, which is a

design family with several variations and “weights.” For example:




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      31.    Named after and inspired by the work of architect Richard Neutra,

Neutraface has become one of House’s most popular fonts, valued for its

sophistication and clean architectural lines.

      32.    It took House’s internal design team several years and thousands of

hours to develop its family of Neutraface fonts.

      33.    House has expended considerable effort to protect fonts and designs

like Neutraface. Anyone who wishes to use a House font must agree to purchase a

license. Fonts are licensed like software. To use the font, a user must license it,



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download the software used to generate the font, and only use the fonts and resulting

characters (“glyphs”) for the specific uses authorized by the license terms. House

explains this process and its importance in clear, user-friendly detail in its “Licensing

FAQ.” See https://houseind.com/faq#web-fonts.

      34.    House has particularly strict prohibitions on use of its font software or

glyphs generated from use of the software to create logos. For example, its standard

form “Desktop” license agreement states:

      The following uses of the Licensed Software and Fonts and glyphs
      generated thereby are expressly NOT PERMITTED under this
      agreement . . . k. In a logo.

See Ex. A (capitalization in original; bold added).

      35.    This and other restrictions are in place because the value of the font

software and the resulting glyphs lies in the ability to license the designs repeatedly

to different licensees over an extended period, just as House has done with

Neutraface since 2002. If a font becomes associated with one particular brand, for

example, through use in a logo, that long-term value disappears. Because of this

concern, House’s license agreements expressly prohibit use of the font software or

resulting glyphs for use in connection with logos.

      36.    House infrequently negotiates limited scope agreements with

companies that wish to use House’s proprietary software to develop a logo. This

gives House control over the value of the fonts it has expended considerable time,



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money, and effort into developing, avoiding any font becoming part of any one

company’s brand identity.

             Initial Negotiations with Rite Aid’s Agency, PureRED

      37.    In February 2020, House began negotiations with Rite Aid’s ad agency,

PureRED, for licenses to use fonts in the Neutraface family for digital, social media,

and web advertising. House specified that using the font as part of a logo would

require a separate license and different fee, depending on the brand or product used

in connection with the font. In early March, PureRED informed House that “Rite

Aid decided to go with a different font for web [usage] but still plans to use

Neutraface for print pieces which [PureRED] will be producing on their behalf.”

      38.    PureRED asked House whether they had any record of “[PureRed]

already having a license for this font” or if a previous agreement between PureRED

and House would apply. House confirmed that “Rite Aid does not have a license for

any advertising for the fonts,” and PureRED’s previous desktop license did not

include “any extended licensing for Rite Aid.” House provided estimates for

different possible licenses for Rite Aid’s use. PureRED again asked whether the

estimates “include usage of the font in the Rite Aid logo,” and House confirmed that

it did not include logo usage, offering to provide an estimate. House did not know

the extent of Rite Aid’s proposed use at the time.




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      39.      On March 30, 2020, PureRED confirmed the terms of the licenses it

would purchase for Rite Aid and represented that it no longer sought a “[l]ogo

license” because that would be “covered by another agency that created [the logo].”

House would later learn that this representation was false.

      40.      In March 2020, PureRED entered into two license agreements with

House on behalf of Rite Aid, identifying “Rite-Aid Corporation” as the licensee. See

Exs. B, C.

      41.      The first license granted Rite Aid a limited license for use of certain

Neutraface fonts for “Digital/Social Media/Web Advertising” in connection with

Rite Aid drugstores (“Rite Aid Digital License”). These types of uses generally

involve email, social media websites, online advertising on search engines, banner

ads on mobile, or web sites and affiliates programs. The term of the license was

limited to one year (3/31/2020 to 3/30/2021), and the license limited Rite Aid’s

rights to those “expressly provided in this Agreement,” affirmatively prohibiting

other uses. Ex. C (“All rights not granted by this license are expressly reserved by

Licensor. Licensee shall not . . . engage in any unauthorized use of the Fonts or Font

Data.”).

      42.      The second license granted Rite Aid a limited license for use of certain

Neutraface fonts for “Print/POS [point of sale]/Signage Advertising” in connection

with Rite Aid drugstores (“Rite Aid Print License”). These types of uses generally



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involve advertising materials used at retail points-of-sale and elsewhere to promote

a certain product or assortment. This license has a five-year term (3/31/2020 to

3/30/2025) and limits Rite Aid’s rights in the same way as the Rite Aid Digital

License. Ex. B (“This Agreement does not grant to Licensee any right, title or

interest in or to the font and/or font data, other than the grant of rights expressly

provided in this Agreement. All rights not granted by this license are expressly

reserved by the Licensor. Licensee shall not . . . engage in any unauthorized use of

the Fonts or Font Data.”).       Among other things, the license for “Signage

Advertising” does not include the use of Neutraface in the logo on exterior signs.

      43.    At first, House was pleased that Rite Aid had selected Neutraface for

use in its drugstores. But House has since learned that Rite Aid’s use of Neutraface

seemingly started before the license negotiations started and then breached the terms

of the license agreements that were eventually signed.

                   Rite Aid’s Unauthorized Use of Neutraface

      44.    Unknown to House, at the same time PureRED was negotiating these

limited licenses on behalf of Rite Aid for use of Neutraface, Rite Aid was about to

announce its $700,000,000 enterprise-wide rebranding project, which specifically

focuses on the new logo. See https://www.pennlive.com/life/2020/03/this-brand-

relaunch-is-far-more-than-a-new-logo-rite-aid-plans-to-spend-700-million.html.

Through this rebranding, Rite Aid hoped to expand its customer-base, targeting Gen



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X     and     millennial    women,         and      soften    its   look.       See

https://madebysway.com/articles/rite-aid-unveils-brand-refresh-and-new-store-

layout/. The design element at the center of this colossal rebrand was House’s

Neutraface:




                                                 Neutraface
                           Rite Aid Logo
                                                 Text Demi




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         45.    Upon information and belief, work on this logo (“New Rite Aid Logo”)

began no later than December 2019. See https://www.pilotonline.com/business/vp-

bz-sway-riteaid-20200825-7c3z53d2rjc2pafncydwpbc4gi-story.html.

         46.    Upon information and belief, Rite Aid hired the advertising and

marketing agencies Burns Group and Sway to work on Rite Aid’s rebrand and create

the New Rite Aid Logo. See https://www.burnsgroupnyc.com/riteaidrebrand (“Rite

Aid is a ubiquitous brand and neighborhood pharmacy that had lost its way in a sea

of category sameness. We joined RiteAid during a very ambitious period, aimed at

fully reimagining the brand’s place in the world. The strategic transformation took

the brand from dusty pharmacy to holistic health and wellness and [Burns Group]

came in to bring that to life at every touchpoint. Our design approach touches

everything from identity applications to in-store navigation, shopper experience,

trucks, outdoor, website, shopping bags, collateral, OOH, social and more.”) and

https://madebysway.com/work/#ra-corporate-rebranding/ (“We partnered with Rite

Aid to create a new logo for their first rebrand in more than four decades, aligning

the brand with their new position as a wellness company.”).

         47.     Upon information and belief, Burns Group and Sway worked on

“hundreds, if not thousands, of variations” on the New Rite Aid Logo, using

“[t]housands of consumer data points” to find the ideal logo for Rite Aid’s rebrand

before         deciding   on     the    version     displayed    above.         See


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https://www.pilotonline.com/business/vp-bz-sway-riteaid-20200825-

7c3z53d2rjc2pafncydwpbc4gi-story.html.

                 The Vast Scope of Rite Aid’s Use of Neutraface

      48.     Upon information and belief, Rite Aid prominently uses the New Rite

Aid Logo featuring Neutraface in connection with its product packaging, in-store

signage, store exteriors, broadcast and TV advertising, and its mobile app, among

other uses:




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      49.      Upon information and belief, bombarded with appearances of the New

Rite Aid Logo and other unauthorized uses of the font in signs, commercials, and

even on their prescriptions, Rite Aid customers and the general public are

intentionally being conditioned to see House’s Neutraface and immediately and

exclusively associate it with Rite Aid. Rite Aid has usurped the value of House’s

proprietary font design to build its own new brand identity.

      50.      Rite Aid has repeatedly emphasized the importance of their rebrand to

its business, and specifically the New Rite Aid Logo:

             “Customers will soon take notice as the look and feel of our
              stores is being refreshed, our merchandising mix evolves to an
              assortment that best supports whole health” – Jim Peters, Rite
              Aid        Chief       Operating      Officer.             See
              https://www.retaildive.com/news/rite-aid-leans-on-pharmacists-
              in-rebranding-effort/588652/ (emphasis added).



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             “The brand refresh also includes a new brand identity (logo)
              that is rolling out across the chain.” Press Release, “Rite Aid
              Unveils Vision for the Future of Retail Pharmacy.” See
              https://www.businesswire.com/news/home/20201109005400/en
              / (emphasis added).

             “Rite Aid’s Director of Public Relations, Chris Savarese, said
              passersby will notice the rebranding on the facade of the
              stores.” See https://www.starbeacon.com/news/local_news/rite-
              aid-to-spend-700-million-rebranding-stores/article_1fe4999e-
              cd37-56e3-83a0-e915787023c0.html (emphasis added).

             “I want to recognize that our existing brand is outdated.” –
              Heyward Donigan, Rite Aid Chief Executive Officer. See
              https://www.pennlive.com/life/2020/03/it-is-a-new-day-at-rite-
              aid-rite-aid-unveils-new-logo.html (emphasis added).

             “On March 16, 2020, we announced our new strategic plan and
              initiatives, named ‘RxEvolution’, which include significant
              rebranding, merchandising, marketing, integration and
              operational initiatives, in both our Retail Pharmacy and
              Pharmacy Services segments. The execution of these
              overarching initiatives will result in the reintroduction of our
              trusted and iconic Rite Aid brand to a new generation of
              consumers, maintain relevance in an ever changing
              marketplace, and thrive as a significant health care services
              company with a retail footprint. Our initiatives are focused on
              three primary areas, i) to become the dominant mid-market
              pharmacy benefit manager (PBM), ii) to unlock the value of our
              pharmacists, and iii) to renew our retail and digital experience
              . . . Rite Aid is re-branding with a new logo to signal this bold
              change in pharmacy and retail.” Rite Aid Corporation Form
              10-K For the Fiscal Year Ended February 29, 2020 (emphasis
              added).

      51.      Upon information and belief, Rite Aid has used Neutraface to enhance

and remake its brand identity, attract new customers, and “maintain relevance in an

ever-changing marketplace” in order to “thrive.”



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                             The License Agreements

      52.     Rite Aid’s extensive use of the New Rite Aid Logo—the same logo its

100% owned subsidiary registered with the UPSTO—was unauthorized and

prohibited.

      53.     Upon information and belief, Burns Group and Sway engaged in

unauthorized use of the Neutraface family of fonts to create the New Rite Aid Logo

on Rite Aid’s behalf.

      54.     Upon information and belief, Burns Group did not secure any licenses

for use of Neutraface until July 22, 2020. On July 22, 2020, Burns Group purchased

certain Neutraface fonts for desktop use, agreeing to House’s Desktop License

Agreement (“Burns Desktop License”). See Ex. I; Ex. A. Burns Group’s seeming

attempt to cover its past unlicensed use was not only untimely, but it also prohibited

the use Burns made of the font: in a logo. See Ex. A.

      55.     This prohibited use of Neutraface had already occurred and has

continued occurring, as Burns Group and Sway created the New Rite Aid Logo on

Rite Aid’s behalf.

      56.     As described in Paragraphs 41-42 above, the Rite Aid Print License and

Rite Aid Digital License grant very limited rights to use certain Neutraface fonts in

connection with, respectively, digital, social media, and web advertising and print,

point of sale, and signage advertising. All other uses are strictly prohibited. See



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Exs. B, C. In other words, unlicensed and prohibited use of Neutraface includes,

but is not limited to: consumer products, product packaging, broadcast and TV

advertising, and, of course, use in connection with logo or brand identity. Upon

information and belief, Rite Aid has engaged in all of these prohibited uses and has

done so extensively.

      57.    Further, upon information and belief, even though the Rite Aid Digital

License expired on March 30, 2021, Rite Aid has continued its extensive use of the

New Rite Aid Logo in connection with digital, social media, and web advertising:




See https://www.instagram.com/riteaid/channel/?hl=en (last visited on December

11, 2021).




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See https://www.riteaid.com/pharmacy (last visited on December 11, 2021)

This continued use after the conclusion of the license period is strictly prohibited.

See Ex. C (expressly reserving all rights not granted and prohibiting licensee (Rite

Aid) from engaging in unauthorized use).

      58.    Upon information and belief, in a belated attempt to cover up this wide

scope of unauthorized uses, PureRED purchased additional Desktop Licenses for

itself and on behalf of Rite Aid in May 2020 (respectively, the “PureRED Desktop

License” and “Rite Aid’s First Desktop License”). See Ex. A (House’s Desktop

License); Ex. F; Ex. G. A Rite Aid employee purchased an additional Desktop

License in November 2020, well after Rite Aid’s extensive use of the New Rite Aid

Logo began (“Rite Aid’s Second Desktop License”). See Ex. H. However, by

purchasing certain Neutraface fonts for desktop use, PureRED and Rite Aid agreed

to the terms in House’s Desktop License, which expressly prohibits use of

Neutraface “[i]n a logo.” See Ex. A.



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      59.    Other expressly prohibited uses include “[d]istribution of the font data

to any third party” and “product for sale, product packaging, digital/social

media/web advertising, print/POS advertising, and/or tv advertising.” Ex. A. That

is, the Rite Aid and PureRED Desktop licenses did not permit—and indeed,

expressly prohibited—use of Neutraface in the New Rite Aid Logo and any display

of that logo on products, product packaging, digital media, social media, web

advertising, and TV advertising, among other prohibited uses.

      60.    There is no dispute that these uses of Neutraface had already occurred

and have continued occurring, as Rite Aid’s subsidiary applied for and registered

trademarks for the New Rite Aid Logo, and Rite Aid has extensively used the New

Rite Aid Logo throughout its stores, on its products, and in its advertising.

      61.    Incredibly, Rite Aid also falsely and misleadingly claims Neutraface as

its own. Rite Aid requires viewers of its website to acknowledge that the content on

its website—expressly including the “typefaces”—are “proprietary” and these rights

are “valid and protected in all forms.” See https://www.riteaid.com/legal/online-

store-terms-conditions (“You acknowledge that the Site contains information, data,

software, photographs, graphics, videos, text, images, typefaces, sounds, and other

material (collectively ‘Content’) that are protected by copyrights, trademarks, or

other proprietary rights, and that these rights are valid and protected in all forms,

media and technologies existing now or hereinafter developed. All Content is



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copyrighted as a collective work under the U.S. copyright laws, and we own a

copyright in the selection, coordination, arrangement, and enhancement of such

Content.”) (emphasis added). As Rite Aid agreed in its Desktop License agreements,

the typeface Rite Aid claims for itself and admits is proprietary belongs to House.

      62.    Rite Aid also makes false and misleading consumer-facing claims

about its ownership of its logo incorporating Neutraface. For example, Rite Aid’s

website states that all “images, graphics, [and] logos” on the website, including the

New Rite Aid Logo, are “subject to trademark, service mark, trade dress, copyright

and/or other intellectual property rights or licenses held by Rite Aid or one of its

affiliates or by third parties who have licensed their materials to us.”           See

https://www.riteaid.com/legal/terms-conditions.

      63.    Rite Aid makes similar false and misleading consumer-facing

statements concerning its ownership rights in its logo in its online store terms and

conditions. See https://www.riteaid.com/legal/online-store-terms-conditions (“All

of the Content on the Site is subject to trademark, service mark, trade dress,

copyright and/or other intellectual property rights or licenses held by Rite Aid Online

Store, or one of its affiliate companies or by third parties who have licensed their

materials to us. This includes but is not limited to the RITE AID, RITE AID Plus

Design, RITE AID ONLINE STORE and 1-800-RITE AID trademarks and service

marks owned by the Rite Aid Online Store and its affiliates.”).



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      64.    Upon information and belief, Rite Aid is also using Neutraface with

affiliates who are not licensees. The Rite Aid Desktop Licenses are limited to the

licensed entity. See Ex. A. The Rite Aid Print License and Rite Aid Digital License

were expressly limited to uses “in connection with Rite-Aid drugstores.” Upon

information and belief, Rite Aid has also made unauthorized and prohibited uses of

Neutraface in connection with its charitable foundation, which is a separate entity

and not a Rite Aid “drug store:”




            Rite Aid and Name Rite’s Improper Trademark Filings

      65.    Two weeks before PureRED entered into any license agreements with

House, Rite Aid’s subsidiary, Name Rite LLC, filed applications with the United

States Patent and Trademark Office (“USPTO”) to register two design marks

featuring the Neutraface typeface. Name Rite did not merely file for registrations in

the name RITE AID, but claimed ownership in the “illustration drawing which

includes word(s)/letter(s)/number(s)”—thus asserting ownership over its logo

specifically incorporating House’s Neutraface lettering:




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            U.S. Reg. No. 6,258,269               U.S. Reg. No. 6,357,235


      66.     Both applications were based upon a claim of bona fide intent to use

the marks in commerce in connection with “Retail drug store services; retail store

services featuring a wide variety of consumer goods and convenience store items.”

Ex. D (U.S. Reg. No. 6,258,269 Application and Statement of Use); Ex. E (U.S. Reg.

No. 6,357,235 Application and Statement of Use).

      67.     When Name Rite applied for Reg. Nos. 6,357,235 (the “’235

Registration”) and 6,258,269 (the “’269 Registration”) on March 16, 2020, an

authorized signatory made declarations under the penalties of perjury that “[t]he

signatory believes that the applicant is entitled to use the mark in commerce.” Id.

Upon information and belief, Name Rite’s authorized signatory, Ron S. Chima, is

also Rite Aid’s Vice President of Legal Retail & Pharmacy Operations.

      68.     At the time these declarations were signed and submitted to the USPTO

on March 16, 2020, neither Name Rite nor Rite Aid had a license from House to

create the logo, or to use the Neutraface font, either in the logos or otherwise. As a

result, the declarations were false.



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      69.    Subsequently (on October 30, 2020 and February 3, 2021 respectively),

Name Rite filed Statements of Use for each application, attesting that the marks were

in use in commerce. As part of those Statements of use, the same authorized

signatory declared (again under the penalties of perjury) that “[t]he signatory

believes that the applicant is the owner of the mark sought to be registered.” Ex. D

(emphasis added); Ex. E.

      70.    At the times these Statements of Use were signed and submitted to the

USPTO, neither Name Rite nor Rite Aid had a license from House that permitted

the use of the Neutraface font in a logo; indeed, the two PureRED license agreements

and the Burns Group desktop license prohibited the use. Further, the Rite Aid

Desktop Licenses, PureRED Desktop License, and Burns Group Desktop License

explicitly state that any artwork designs incorporating the glyphs are owned by

House. See Ex. A (“Any derivative work which uses incorporates or is otherwise

based upon the Licensed Software, Fonts embodied therein, or glyphs generated

thereby, including, but not limited to: software, EPS files, artwork designs or other

electronic works, are considered derivative works and shall be the exclusive

property of House Industries.”). (Emphasis added.)

      71.    As a result, the declarations of ownership made in support of the

Statements of Use were also false.




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                          House’s Attempts at Resolution

      72.      When House first learned about Rite Aid’s extensive and unauthorized

use and discovered that PureRED’s representation that a “logo license” was

“covered by another agency that created [the logo]” was false, it attempted to work

with PureRED and Rite Aid to reach a resolution.

      73.      For months, House sought additional information from Rite Aid to try

to provide pricing for all unlicensed usage, including Rite Aid’s unlicensed usage of

Neutraface in its logo. Rite Aid confirmed that it needed usage for “Broadcast

(logo),”     “Logo/Identity,”   “Promotional     Marketing   Materials,”   and   “TV

advertising.” Despite multiple attempts at entering into additional licenses to cover

Rite Aid’s extensive unauthorized uses, Rite Aid eventually stopped responding to

House.

      74.      As a result of the foregoing breaches of contract, unfair competition,

and unjust enrichment, House has suffered and will continue to suffer irreparable

harm and monetary harm in an amount to be determined at trial.

                                CLAIMS FOR RELIEF

                                     COUNT I
                                (Breach of Contract)
                  (Against Rite Aid, PureRED, and Burns Group)

      75.      House repeats and realleges the allegations contained in paragraphs 1

through 74 above as if fully set forth herein.



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         76.   The Rite Aid Print License is a valid, binding contract between House

and Rite Aid.

         77.   The Rite Aid Print License expressly reserves all rights not granted by

the license (i.e., all rights other than use of certain Neutraface fonts for print, point

of sale, and signage advertising in connection with Rite Aid drugstores) and

prohibits the licensee, Rite Aid, from engaging in unauthorized use of Neutraface.

Ex. B.

         78.   Upon information and belief, Rite Aid has engaged in unauthorized

uses of Neutraface, including in connection with consumer products, product

packaging, mobile app use, broadcast and TV advertising, and, in connection with

the New Rite Aid Logo.

         79.   Rite Aid’s actions constitute a breach of the terms of the Rite Aid Print

License.

         80.   As a direct and proximate cause of Rite Aid’s conduct, House has

suffered monetary damages, including loss of the present and future licensable value

of Neutraface, in an amount to be determined at trial.

         81.   The Rite Aid Digital License is a valid, binding contract between House

and Rite Aid.

         82.   The Rite Aid Digital License expressly reserves all rights not granted

by the license (i.e., all rights other than use of certain Neutraface fonts for digital,



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social media, and web advertising in connection with Rite Aid drugstores) and

prohibits the licensee, Rite Aid, from engaging in unauthorized use of Neutraface.

Ex. C.

         83.   The term of the license expired on March 30, 2021. Ex. C.

         84.   Upon information and belief, during the term of the contract Rite Aid

engaged in unauthorized uses of Neutraface, including in connection with consumer

products, product packaging, mobile app use, broadcast and TV advertising, and, in

connection with the New Rite Aid Logo.

         85.   As a direct and proximate cause of Rite Aid’s conduct, House has

suffered monetary damages, including loss of the present and future licensable value

of Neutraface, in an amount to be determined at trial.

         86.   Rite Aid’s First Desktop License is a valid, binding contract between

House and Rite Aid.

         87.   Rite Aid’s First Desktop License expressly prohibits use “[i]n a logo.”

See Ex. A.

         88.   Rite Aid’s First Desktop License expressly prohibits use in connection

with “[a]ny product for sale, product packaging . . . and/or tv advertising.” See Ex.

A.

         89.   Upon information and belief, Rite Aid breached Rite Aid’s First

Desktop License by continuing to engage in unauthorized uses of Neutraface,



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including using it in connection with the New Rite Aid Logo, on product packaging,

and in television advertising, after the agreement was signed.

      90.    As a direct and proximate cause of Rite Aid’s conduct, House has

suffered monetary damages in an amount to be determined at trial.

      91.    Rite Aid’s Second Desktop License is a valid, binding contract between

House and Rite Aid.

      92.    Rite Aid’s Second Desktop License expressly prohibits use “[i]n a

logo.” See Ex. A.

      93.    Rite Aid’s Second Desktop License expressly prohibits use in

connection with “[a]ny product for sale, product packaging . . . and/or tv

advertising.” See Ex. A.

      94.    Upon information and belief, Rite Aid breached Rite Aid’s Second

Desktop License by continuing to engage in unauthorized uses of Neutraface,

including using it in connection with the New Rite Aid Logo, on product packaging,

and in television advertising after the agreement was signed.

      95.    As a direct and proximate cause of Rite Aid’s conduct, House has

suffered monetary damages in an amount to be determined at trial.

      96.    The PureRED Desktop License is a valid, binding contract between

House and PureRED.




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      97.     The PureRED Desktop License expressly prohibits use “[i]n a logo.”

See Ex. A.

      98.     Upon information and belief, PureRED breached the PureRED Desktop

License by continuing to engage in unauthorized uses of Neutraface, including using

it in connection with the New Rite Aid Logo, after the agreement was signed.

      99.     As a direct and proximate cause of PureRED’s conduct, House has

suffered monetary damages in an amount to be determined at trial. The Burns

Desktop License is a valid, binding contract between House and Burns Group.

      100. The Burns Desktop License expressly prohibits use “[i]n a logo.” See

Ex. A.

      101. Upon information and belief, Burns Group breached the Burns Desktop

License by continuing to engage in unauthorized uses of Neutraface, including using

it in connection with the New Rite Aid Logo, after the agreement was signed.

      102. As a direct and proximate cause of Burns Group’s conduct, House has

suffered monetary damages in an amount to be determined at trial.

                                   COUNT II
             (Unjust Enrichment Under Pennsylvania Common Law)
              (Against Rite Aid, PureRED, Burns Group, and Sway)

      103. House repeats and realleges the allegations contained in paragraphs 1

through 102 above as if fully set forth herein.




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      104. This claim is for unjust enrichment in violation of the common law of

the Commonwealth of Pennsylvania.

      105. By using House’s proprietary font in the New Rite Aid Logo, as part of

its brand identity, in connection with consumer products, product packaging, mobile

app use, and broadcast and TV advertising without obtaining and paying for licenses

for those uses, Rite Aid has received and has retained a benefit from House.

      106. Upon information and belief, Rite Aid understood that it received that

benefit.

      107. Under these circumstances, where Rite Aid has engaged in extensive

unauthorized use of House’s proprietary font without obtaining a license for that use,

it would be unjust and inequitable to allow Rite Aid to retain that benefit.

      108. Upon information and belief, Rite Aid has made, and will continue to

make, substantial profits and gain from its use of Neutraface, to which Rite Aid is

not entitled at law or in equity.

      109. Upon information and belief, Rite Aid has been unjustly enriched by

sales that Rite Aid would not have made but for its unlawful use of House’s

proprietary font.

      110. By using Neutraface to create a logo for Rite Aid and preparing

materials incorporating Neutraface without obtaining and paying for a license from




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House, PureRED, Burns Group, and Sway have received and retained a benefit from

House.

      111. Upon information and belief, PureRED, Burns Group, and Sway

understood that they received that benefit.

      112. Since PureRED, Burns Group, and Sway accepted and retained the

benefit of using House’s proprietary font without licensing its use, it would be unjust

and inequitable to allow PureRED, Burns Group and Sway to retain that benefit.

      113. Upon information and belief, PureRED, Burns Group and Sway have

each been unjustly enriched by using Rite Aid’s proprietary font without paying the

price of a license.

      114. PureRED, Burns Group, and Sway’s conduct has caused, and is

causing, damage to House, including monetary damages in an amount to be

determined at trial.

                                  COUNT III
               (False Designation of Origin – 15 U.S.C. § 1125(a))
                               (Against Rite Aid)

      115. House repeats and realleges the allegations contained in paragraphs 1

through 114 above as if fully set forth herein.

      116. This claim is for false designation of origin in violation of § 1125(a) of

the Lanham Act.




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      117. House owns exclusive rights in the font software used to create

Neutraface typeface and any resulting glyphs.

      118. House structures its licensing regime to prohibit licensees from using

its fonts in logos because it is critical to the value of the fonts that they not become

identified or specifically associated with one particular company—other than itself

insofar as its customers know to work with House to use attractive and innovative

fonts like Neutraface.

      119. Upon information and belief, Burns Group and Sway used Neutraface

without authorization to create the New Rite Aid Logo for Rite Aid.

      120. Since its unauthorized creation, Rite Aid has used the New Rite Aid

Logo extensively in United States commerce on signage, in advertising, on

packaging and in numerous other ways in a campaign that was expressly designed

to create and reinforce an association between the Neutraface logo and Rite Aid, thus

improperly deceiving consumers into believing that the Neutraface font is affiliated

or associated exclusively with Rite Aid.

      121. Rite Aid’s subsidiary, Name Rite, furthered the deception when it

applied for two trademark registrations incorporating Neutraface on March 16, 2020,

thus claiming ownership in the design and typeface, before the effective date of any

agreements between Rite Aid and House.




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      122. Through Rite Aid’s extensive use of the New Rite Aid Logo, Rite Aid

is deceiving customers into believing that House’s proprietary font design is

exclusively associated with Rite Aid. Upon information and belief, consumers are

becoming accustomed to encountering Neutraface on Rite Aid products, Rite Aid

packaging, Rite Aid advertisements, and in Rite Aid stores.

      123. Through Rite Aid’s extensive use of Neutraface in the New Rite Aid

Logo, and its subsidiary Name Rite’s application for and registration of design marks

incorporating stylized lettering in Neutraface, Rite Aid misrepresents that it, not

House, is the source of Neutraface or goods or services bearing Neutraface.

      124. Rite Aid’s website furthers the deception insofar as it makes a direct

representation that all “images, graphics, [and] logos” on the website are “subject to

trademark, service mark, trade dress, copyright and/or other intellectual property

rights or licenses held by Rite Aid or one of its affiliates or by third parties who have

licensed their materials to us.” See https://www.riteaid.com/legal/terms-conditions.

This misrepresentation further suggests that the Neutraface font used in Rite Aid’s

graphics and logos are exclusively associated with Rite Aid.

      125. House has never consented to Rite Aid’s use of Neutraface in the New

Rite Aid Logo.

      126. House has never consented to Name Rite’s application for and

registration of two trademarks incorporating House’s proprietary typeface.



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       127. Upon information and belief, Rite Aid’s use of House’s proprietary

font, as complained of herein, and false statements of ownership in the New Rite

Aid logo is likely to cause confusion, to cause mistake, or to deceive as to the

affiliation, connection, or association of Rite Aid with House and/or as to the origin,

sponsorship, or approval by House of Rite Aid’s goods, services, or commercial

activity.

       128. As a direct and proximate result of Rite Aid’s violations of 15 U.S.C.

§ 1125, House has been and will continue to be damaged.

       129. Upon information and belief, Rite Aid has realized, and continues to

realize, substantial revenues, profits, and other benefits rightfully belonging to

House as a result of its wrongful conduct.

       130. Rite Aid’s conduct is causing and will continue to cause House to suffer

irreparable harm and, unless Rite Aid is restrained, House will continue to be so

damaged, because it has no adequate remedy at law.

                               COUNT IV
   (Unfair Competition and Reverse Passing Off Under PA Common Law)
                            (Against Rite Aid)

       131. House repeats and realleges the allegations contained in paragraphs 1

through 130 above as if fully set forth herein.

       132. This claim is for unfair competition and reverse passing off in violation

of the common law of the Commonwealth of Pennsylvania.



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      133. House has exclusive rights in the font software used to create

Neutraface typeface and any resulting glyphs.

      134. House specifically structures its licensing regime to prevent licensees

from using its fonts in logos because it is critical to the value of the fonts that they

not become identified or specifically associated with one particular company.

      135. Upon information and belief, Burns Group and Sway used Neutraface

to create the New Rite Aid Logo on behalf of Rite Aid and Rite Aid publicly revealed

the New Rite Aid Logo on or about March 16, 2020.

      136. Since that time, Defendants have used the New Rite Aid Logo

extensively on signage, in advertising, on packaging and in numerous other ways in

a campaign that was expressly designed to create an association between the

Neutraface logo and Rite Aid.

      137. Rite Aid’s subsidiary, Name Rite, applied for two trademark

registrations incorporating Neutraface on March 16, 2020, before the effective date

of any agreements between Rite Aid and House.

      138. Upon information and belief, PureRED contacted House to secure a

license for Rite Aid in an effort to cover up the previously unlicensed uses of

Neutraface.

      139. Through Rite Aid’s extensive use of the New Rite Aid Logo, Rite Aid

has been conditioning consumers to associate House’s proprietary font design with



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Rite Aid. Upon information and belief, consumers are becoming accustomed to

encountering Neutraface on Rite Aid products, Rite Aid packaging, Rite Aid

advertisements, and in Rite Aid stores. There can be no other effect of this deluge

than to usurp Neutraface for Rite Aid’s own brand identity. And through this

usurpation, Rite Aid has eviscerated the present and future licensable value of

Neutraface.

      140. Through Rite Aid’s extensive use of Neutraface in the New Rite Aid

Logo, and its subsidiary Name Rite’s application for and registration of design marks

incorporating stylized lettering in Neutraface, Rite Aid misrepresents that it, not

House, is the source of Neutraface.

      141. Further, on Rite Aid’s website, it makes a direct representation that all

“images, graphics, [and] logos” on the website are “subject to trademark, service

mark, trade dress, copyright and/or other intellectual property rights or licenses held

by Rite Aid or one of its affiliates or by third parties who have licensed their

materials to us.” See https://www.riteaid.com/legal/terms-conditions.

      142. House has never consented to Rite Aid’s use of Neutraface in the New

Rite Aid Logo.

      143. House has never consented to Name Rite’s application for and

registration of two trademarks incorporating House’s proprietary typeface.




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      144. Upon information and belief, Rite Aid’s use of House’s proprietary

font, as complained of herein, constitute unfair competition and reverse passing off

in violation of Pennsylvania common law.

      145. Upon information and belief, Rite Aid’s actions and conduct, as

complained of herein, have been willful and deliberate.

      146. House has suffered, and will continue to suffer, irreparable harm from

Rite Aid’s acts and conduct complained of herein, unless restrained by law.

      147. House has no adequate remedy at law.

                                   COUNT V
   (Civil Liability for False or Fraudulent Registration – 15 U.S.C. § 1120)
                        (Against Name Rite and Rite Aid)

      148. House repeats and realleges the allegations contained in paragraphs 1

through 147 above as if fully set forth herein.

      149. As part of the trademark applications which matured to the ‘269 and

‘235 Registrations, Name Rite made sworn representations to the USPTO that (a) it

was entitled to use in commerce the two marks incorporating the Neutraface font;

and (b) that it was the owner of those marks.

      150. Those statements were false at the time they were made and remain

false. At no relevant time did Name Rite or Rite Aid possess a license from House

permitting it to (a) use the Neutraface font in a logo; or (b) claim any ownership right

in the Neutraface font or any glyphs created thereby.



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         151. Upon information and belief, Name Rite and Rite Aid knew that these

statements were false at the time they were made. Specifically Name Rite and Rite

Aid knew that it did not yet have any license in place for the font as of March 16,

2020, and Name Rite and Rite Aid knew that the licenses in place when the

Statements of Use were filed did not permit, and indeed, expressly prohibited, logo

usage.

         152. Upon information and belief, these statements were made with the

specific intent to deceive and mislead the USPTO into approving the applications

and issuing the ‘269 and ‘235 registrations.

         153. These statements to the USPTO – that Name Rite was entitled to use

the marks, and then that Name Rite owned the marks – were material. In reasonable

reliance upon the sworn representations regarding entitlement to use and ownership

made by Name Rite in the applications and Statements of Use, the USPTO allowed

both applications and then issued the ‘235 and ‘269 Registrations. If Name Rite had

not made those statements, the USPTO would not have approved the applications

(and, indeed, would have been precluded by statute from doing so).

         154. The issuance of the ‘269 and ‘235 Registrations creates a presumption

of validity as to those marks, directly undermining House’s ownership rights in the

Neutraface font displayed therein.




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      155. As a direct and proximate result of these actions by Name Rite and Rite

Aid, House has been damaged.

      156. For these reasons, the ‘269 and ‘235 Registrations also should be

cancelled under 15 U.S.C. § 1119.

                              PRAYER FOR RELIEF

WHEREFORE, House respectfully prays that this Court:

      A.     Enter judgment that: (i) Rite Aid, PureRED, and Burns Group have

breached their license agreements; (ii) Rite Aid, PureRED, Burns Group, and Sway

have been unjustly enriched; (iii) Rite Aid has violated 15 U.S.C. § 1125(a); (iv)

Rite Aid has engaged in unfair competition and reverse passing off under

Pennsylvania common law; (v) Name Rite and Rite Aid are civilly liable under 15

U.S.C. §1120; and that all of the foregoing wrongful activities by Defendants were

willful and/or constitute and exceptional case under 15 U.S.C. § 1117;

      B.     That this Court, pursuant to 15 U.S.C. § 1116 and the Court’s equitable

power, enjoin Rite Aid, its employees, agents, servants, and all in privity or acting

in concert with any of them, from (i) using House’s Neutraface font as part of its

logo; (ii) claiming any exclusive association between the Neutraface font design and

Rite Aid as source; and continuing to use Neutraface for “Digital/Social Media/Web

Advertising” after the term of its license;




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      C.     That this Court, pursuant to 15 U.S.C. § 1119, exercise its power over

the trademark registry to cancel U.S. Registration Nos. 6,357,235 and 6,258,269;

      D.     That this Court, pursuant to 15 U.S.C. § 1118, enter an order that all

labels, signs, prints, packages, wrappers, receptacles, and advertisements in the

possession of the defendant bearing the unauthorized logo be delivered up and

destroyed;

      E.     That this Court require an accounting of profits by Rite Aid;

      F.     That this Court award House Rite Aid profits, House’s actual damages,

enhanced damages, exemplary damages, costs, prejudgment and post judgment

interest, and reasonable attorneys’ fees pursuant to at least 15 U.S.C. § 1117 and

Pennsylvania common law; and

      G.     That this Court award House such other and further relief that it deems

just and proper.

                                JURY DEMAND

      House demands a trial by jury of all claims so triable.

                                       ****




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Dated: March 28, 2022             Respectfully submitted,

                                  ORRICK, HERRINGTON & SUTCLIFFE
                                  LLP

                                  By: /s/ Kelly A. Williams

                                     Kelly A. Williams
                                     kelly.williams@orrick.com
                                     PA ID 74872
                                     2121 Main St.
                                     Wheeling, WV 26003
                                     Telephone: (304) 231-2500

                                     Mark Puzella (pro hac vice motion
                                     forthcoming)
                                     mpuzella@orrick.com
                                     MA 644850
                                     R. David Hosp (pro hac vice motion
                                     forthcoming)
                                     dhosp@orrick.com
                                     MA 634091
                                     222 Berkeley Street, Suite 2000
                                     Boston, MA 02116
                                     Telephone: (617) 880-1919
                                     Fax: (617) 880-1801

                                     Lindsay Rindskopf (pro hac vice motion
                                     forthcoming)
                                     lrindskopf@orrick.com
                                     NY 5766985
                                     51 W 52nd Street
                                     New York, NY 10019
                                     Telephone: (212) 506-5000
                                     Fax: (212) 506-5151

                                     Counsel for Plaintiff




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